    Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 1 of 6            FILED
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Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 2 of 6
Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 3 of 6
Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 4 of 6
Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 5 of 6
Case 1:12-cv-02546-VEH Document 1-3 Filed 07/25/12 Page 6 of 6
